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  I                                         D ISTR IC T O F N EV AD A
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 8 LJNITED STATESOFAM ERICA,                             )
                                                         )
                               Plaintiff'
                                        ,                )
                                                         )
10                                                       )         2:10-CR-261-LDG (LRL)
                                                         )
          SCOTT BRADY,                                   )
                                                         )
12                   -         Defendant.                )
13                                PR ELIM IN A R Y (IRD ER O F FO RFE ITU RE
14                ThisCourtfindsthaton January 18,2011,defendantSCO'FT BRADY pledguiltyto aOne-
15 C ountSuperseding Crim inal lnform ation charging him w ith Felon in Possession of a Firearm in

16 violationof'ritlel8,UnitedStatesCode,Section922(g)(1),
                  ThisCourttindsdefendantSCOTT BRADY agreedtothcfort-
                                                                    eitureot-thepropertysetforth
          in ForfeitureAllegation ofthe Superseding Crim inalInform ation .
19g'
  '
                  ThisCourtGnds,pursuantto Fed.R.Crim .P.32.2(b)(1)and (2),the United Statesof
      j
20I A m erica hasshown the requisitenexusbctw een property setforth in the I'orfeiture A llegation olthe
21 Superseding Crim inalInfonnation and theoffbnsetowhichdefendantSCOTT BRADY pled guilty.

 2.i
2: I!
    1             ThefollowingassetsaresubjecttoforfeiturepursuanttoTitle1B-UnittdStatesCode,Sedion
23i! 924(d)(1)and'
                 Fitle28,UnitedStatesCode,Section2461(c):
241'                     (a)   aRaven AnnsM odelM P-25,.25calibersemiautomaticpistolsbearingserial
                               num ber712961;
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                             aSavage .410 gauge shotgun,w'
                                                         ith no serialnum berand asawed off8inch
                             barrel;and
                             any and al1am m unition.
               This Courtfinds the U nited States of A m erica is now entitled to,and should,reduce the
       afbrementioned property to thepossession oftheUnited StatesofAm erica.
               NOW THEREFORE,IT IS HEREBY ORDERED ,ADJUDGED,AND DECREED thatthe
       Unittd StatesofAmericashould seizethe aforementioned property,
               IT IS FURTHER ORDERED,ADJUDGED,AN D DECREED a11right,title,andinterestof
       SCOTT BRADY in the aforem entioned property is forfeited and isvested in the United Statesof
       Am erica and shallbe safely held by the U nited StgtesofA m erica untilfurtherorderol-the Court.
               IT IS FUR'I-HER ORDERED,ADJUDGED,AND DECREED theUnited StatesofAm erica
       shallpublish foratIeastthirty (30)consecutivedayson theofticialinternetgovernmentfort-
                                                                                            eiture
       website,www.forfeiture.gov,noticeofthisOrder,which shalldescribe the forfeited property, state
       thetim eundertheapplicablestatutewhen apetition contestingtheforfeiturem ustbetiled, and state
       thenam eandcontactinformation forthegovernmentattorneytobeselwedwiththepetition,pursuant
       to Fed.R.Crim.P.32.2(b)(6)andTitle21,UnitedStatesCode,Section853(n)(2).
               IT ISFURTHERORDERED,ADJUDGED,AND DECREED apetition,ifany,m ustbefiled
       w ith the Clerk ofthe Court,333 LasVegas Boulevard South,Las V egas, Nevada 89101.
               IT IS FURTH ER O RD EREDSADJU D GED ,AN D D ECR EED a copy ofthe petition, ifany,
       shallbe served upon the Assetf'
                                     orfeiture Attorney ofthe United States Attorney-s Oftice atthe
       following addressatthe tim e offling:
22''                 DanielD .H ollingsworth
  !q
  ;                  A ssistantUnited States A ttorney
2;E'                 M ichaelA .Hum phreys
                     A ssistantU nited States Attorney
24l                  Lloyd D .George U nited States Courthouse
  :i                 333 LasV egas Boulevard South,Suite 5000
25                   LasV egas,N evada 89101.
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             IT IS FURTHER ORDERED,ADJUDGED,AND DECREED the noticedescribed herein
     need notbe published in the eventa Declaration of Forfeiture is issued by the appropriate agency
     following publication ofnoticeofseizure and intentto adm inistratively forfeittheabove-described
     property.
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             DATEDthis UY dayof .
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